Case 1:23-cv-00217-JMB-RSK           ECF No. 58, PageID.425   Filed 03/01/24   Page 1 of 2
 


                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

     AZURA, LLC,


                   Plaintiff


     v.
                                                Case No. 1:23-CV-00217-JMB-RSK

     TRUE POS SOLUTIONS, INC., et al.,          HON. JANE M. BECKERING


                  Defendants
     and

     TRUE POS SOLUTIONS, INC.,

                  Third-Party Plaintiff

     v.

     BRAD OLIVER

                   Third-Party Defendant,

     and

     TRUE POS SOLUTIONS, INC.,

                    Counter-Claimant

     v.

     AZURA, LLC

                     Counter- Defendant.




 
Case 1:23-cv-00217-JMB-RSK          ECF No. 58, PageID.426          Filed 03/01/24      Page 2 of 2




    STIPULATION FOR PROPOSED ORDER REINSTATING CASE FOR ENTRY OF
                         CONSENT JUDGMENT

          The parties having entered into a Settlement Agreement and Defendants True POS

 Solutions, Inc. and Ephantus Githinji Mwangi having defaulted on the Settlement Agreement, and

 the parties having stipulated to reinstatement of the above-captioned case for the sole purpose of

 entry of the Consent Judgment and post-judgment proceedings:

          IT IS ORDERED that the above-captioned action is reopened so that the Consent

 Judgment may be entered, and all post judgment proceedings may commence.


           March 1 2024
 Dated: ___________,                                 /s/ Jane M. Beckering
                                                     _______________________________
                                                     Jane M. Beckering
                                                     United States District Judge


 Stipulated as to:



                                              s/ Steven Benson
                                              Steven M. Benson (CA #249225)
                                              GLOBAL LEGAL LAW FIRM
                                              Co-Counsel for Plaintiff/Counterclaim Defendant
                                              Azura, LLC
                                              322 Encinitas Blvd., Ste. 200
                                              Encinitas, CA 92024
                                              (888) 846-8901
                                              sbenson@attorneygl.com

                                              /s/ Christopher E. Nyenhuis
                                              Christopher E. Nyenhuis (P80028)
                                              HILGER HAMMOND
                                              Counsel for Defendants True POS Solutions, Inc.
                                              and Ephantus Mwangi
                                              220 Lyon Street NW, Suite 410
                                              Grand Rapids, MI 49503
                                              (616) 458-3600
                                              cnyenhuis@hilgerhammond.com


 4872-7122-7293, v. 1
